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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                       :       Hon. Stanley R. Chesler

                                                       Crim No. 09-299 (SRC)

JAMES CROSS                                    :       ORDER FOR CONTINUANCE




               This matter having been opened to the Court by Ralph J. Marra. Jr., Acting United

States Attorney for the District of New Jersey (Melissa 1. Jampol, Assistant U.S. Attorney.

appearing), and defendantiAMES CROSS (Robert J. Olejar. Esq., appearing), for an order granting

a continuance of the proceedings in the above-captioned matter; and the defendant being aware that

he has the right to have the matter presented at trial within seventy (70) days of his Indictment; and

the parties having been engaged in plea negotiations; and for good and sufficient cause shown,

                IT IS ThE FINDING OF THIS COURT that this action should be continued for the

following reasons:

                I.     Plea negotiations currently are in progress. and both the United States and the

defendant desire additional time to enter the plea in Court. which would thereby render trial of this

matter unnecessary.

               2.      Defendant has consented to the aforementioned continuance.

               3.      The grant of a continuance will likely conserve judicial resources.

               4.      Pursuant to Title 18 of the United States Code. Section 3161 (h x7), the ends

of justice served b> granting the continuance outweigh the best interests of the public and the

defendant in a speedy trial.

               WHEREFORE, it is on this            2     day of J$3OO
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                ORDERED that the proceedings in the above-captioned matter are continued from

 July 13. 2009 through and including September 15. 2009;

                ORDERED that the Government’s response to pretrial motions are due August 24,

 2009; a hearing on the motions is scheduled for September 1,2009 at 11:00 a.m., and the trial in the

 matter is scheduled for September 15. 2009; and

                IT IS FURTHER ORDERED that the period between July 13, 2009 through and

 including September 15.2009 shall be excludable in computing time under the Speedy Trial Act of

 1974.




                                              lion. Stanley R. Chesler
                                              United States District Judge



                                               Date:
 Robert J. yiejar. Esq.
 Attorney For 4ames Cross


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 MeIfss’L. Jhmpol
 Assista1tI,4.S. Attorney
